Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 1 of 35




       EXHIBIT 5
   Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 2 of 35




SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK -- PART 58

THE PEOPLE OF THE STATE OF NEW YORK   :
                                           AFFIRMATION IN RESPONSE
            -against-                  •   TO MOTION TO VACATE
                                           JUDGMENT OF CONVICTION
KHAREY WISE, KEVIN RICHARDSON,
ANTRON MCCRAY, YUSEF SALAAM, and           INDICTMENT NO. 4762/89
RAYMOND SANTANA,

                        Defendants.
                                      x


     NANCY E. RYAN, an attorney duly admitted to practice in the
State of New York and an Assistant District Attorney in and for the
County of New York, hereby affirms under penalty of perjury that:

     1.   I am the Assistant District Attorney in charge of the
above-captioned case; and as such I am fully familiar with the
facts and circumstances herein.

     2. This affirmation is based upon information and belief, the
sources of said information and belief being transcripts of prior
proceedings held in connection with the above-captioned indictment;
files, records, briefs, notes,;!and videotapes maintained by the New
York Cdunty District Attorney'S Office, the New York City Police
Department, the Federal Bureau of Investigation, and the City and
State Departments. of Corrections;        interviews with police,
civilian, and expert witnesses; .and conversations with Assistant
District Attorneys.

•   . 3. I make this affirmation in response to motions submitted
by the defendants Kevin Richardson, Antron McCray, Raymond Santana,
Yusef Salaam, and Kharey Wise, all of whom were convicted after.
trial of various charges contained in New. York County Supreme Court
Indictment Number 4762/89. The motions have been made pursuant to
Criminal Procedure Law Seotion 440.10(1)(g). Each motion requests
that guilty verdicts rendered against the defendants in connection
with the above-captioned indictment be vacated and set aside based
upon newly discovered evidence, and that the court grant whatever
further relief may be just and proper.

     4. The defendants were all'convicted of charges relating to
the April 19, 1989, assault and rape of a female jogger.
Additionally, defendants Ridhardson, McCray, Salaam, and Santana
were convicted of charges relating to the assault and robbery of a
second, male jogger on the same date. Finally; defendant Wise was
convicted of a riot charge in 'connection. with a series of events
that encompassed both those criminal incidents.         .The newly
discovered evidence relied upon by all the defendants consists of

                           PAGE 1 of 34




                                                                      NYCLD 030681
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 3 of 35




an affidavit by Matias Reyes, in which he swears that he alone
committed the attack on the female jogger of which each stands
convicted.

     5. Based on the facts and for the reasons set forth below,
the People consent to the defendants' motions to set aside the
verdicts on all the charges of which they were convicted.

     6. This affirmation does not describe the full scope of the
review, reinvestigation, and      reevaluation   of  the   evidence
undertaken by the Office of the District Attorney in connection
with this matter. It outlines the principal issues considered by
the People in responding .to the defendants' legal motions,
summarizes some of the facts relevant to those issues, and explains
the analysis undertaken to resolve them. In short, it deals with
the specific legal issue .presented by the defendants' motions:
whether the newly discovered evidence in this matter creates a
probability that, if the evidence had been received at trial, it
would have resulted in a verdict more favorable to the defendants
on one or more charges.

                    HISTORY OF THE PROSECUTION

     7.   On the night of April 19, 1989, a series of violent
incidents occurred in Central Park, involving members of a group of
more than 30 teenagers. The incidents resulted in the arrests and
convictions of ten young men, including the above-named defendants.
At approximately 9:05 p.m. Michael Vigna, a racing biker, was
accosted by a band of youths on the East Drive, just north of the
102nd Street transverse.    A few minutes later, Antonio Diaz was
assaulted and robbed, also on the East Drive, at about the level of
102nd Street. He was left unconscious. At roughly 9:12 to 9:15
p.m., a couple on a tandem bicycle was menaced on the drive just
south of the 102nd Street entrance to the park.      Moments later,
slightly south of that, a taxi driver had rocks hurled at his cab,
and was threatened by a group of teenagers when he got out of the
car to investigate.      And, beginning at about 9:24 p.m. and
continuing until roughly 9:45, a series of four male joggers were
set upon on the jogging path at the northern end of the Central
Park Reservoir.    Two of the male joggers escaped essentially
unharmed, but two, Robert Garner and John Loughlin, were assaulted.
Garner was not seriously hurt. Loughlin, however, was knocked to
the ground, kicked, punched, and beaten with a pipe and stick. He
was knocked unconscious, and sustained significant but not life-
threatening injuries.

     8. At approximately 1:30 a.m., an unconscious woman was found
by two men walking on a footpath through Central Park. She lay at
the edge of a wooded area, roughly 300 feet north of the 102nd
Street transverse road, which runs in an "s"-shaped curve
connecting the East and West Drives of the park.       Police and
medical personnel were summoned. The victim, a twenty-nine year

                           PAGE 2 of 34




                                                                    NYCLD 030682
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 4 of 35




old white woman who came to be known as the "Central Park jogger,"
was removed to the hospital. She had been badly beaten about the
head, and suffered numerous bruises, scratches, and abrasions
elsewhere on her body. Her t-shirt had been rolled into a ligature
and used to tie her in a distinctive fashion.'           Subsequent
investigation revealed that she had left her apartment on East 83rd
Street at roughly 8:55 p.m. to go jogging in the park, and that her
expected route would have taken her across the transverse road.
The investigation also revealed that she had been raped, and that
her radio headset and keys were missing.

      9. Raymond Santana and Kevin Richardson, as well as a number
of other youths, were apprehended at approximately 10:15 p.m. on
April 19, after police officers responding to reports concerning
some of the incidents spotted them on the western outskirts of the
park. Antron McCray, Yusef Salaam, and Kharey Wise were brought in
for questioning on April 20, 1989, after they had been identified
by other youths as having been present at or participants in some
of the events in the park.

      10. Each of the defendants was questioned by detectives and
made one or more statements. All five of the defendants implicated
themselves in a number of the crimes which' had occurred in the
park.    None of them admitted actually raping the Central Park
jogger, but each gave an account of events in which he made himself
an accomplice to the crime. • Kharey Wise was 16 years old at the
time;     Yusef Salaam and Antron McCray were 15;        and Kevin
Richardson and Raymond Santana were 14.

     11. On May 4, 1989, Indictment NuMber 4762/1989 was filed
charging each of the defendants" with Attempted Murder in the Second
Degree (Penal Law Section 110/125.25(1)), Rape in the First Degree
(Penal Law Section 130.35(1)), Sodomy in the First Degree (Penal
Law Section 130.50(1)), Sexual Abuse in the First Degree (Penal Law
Section 130.65(1)), and two counts of Assault in the First Degree
(Penal Law Sections 120.10(1) and (3)), with respect to the Central
Park jogger. In addition, the indictment charged each of them with
Robbery in the First Degree (Penal Law Section 160.15(3)), two
counts of Robbery in the Second Degree (Penal Law Sections
160.10(1) and (2)(a)), and two counts of Assault in the Second
Degree (Penal Law Sections 120.05(2) and (6)) in connection with
the attack on John Loughlin, and with Assault in the Second Degree
(Penal Law Section 120.05(6)) with respect to jogger David Lewis.
All of the defendants were also charged with Riot in the First
Degree (Penal Law Section 240.06).




     'The shirt was placed behind her head, crisscrossed over and
through her mouth, and then used to tie her hands and wrists up in
front of her face.

                           PAGE 3 of 34




                                                                    NYCLD 030683
  Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 5 of 35


       1 2. Steven Lopez, 15, was also indicted in        ='-- -n
 the attack on the jocaer.      Lopez was named by Kevin Fichard=on,
 Raymond Santana, and Kharev Wise as having participated 'n the
 crime, althouch they varied creatly in their descriptions         is
 conduct.    Lopez was interviewed and made a videotaped st=t-m-n
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 incident involving
            4          a female ioccer.       However, in =ub==,-u-rr
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 to be "cOn=istent with" the joccer's hair, based upcn a micro=coto
 analvs's.    Lopez was charged in the same indictment as the five
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 7cuchlin, and on March 7 3, 1991, he _=r-=iv=d a sentence o= one ar•:.
 one-half to four and one-half years,

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 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 6 of 35




Second Degree (Penal Law. Section 160.10(2)(a) and (1)), one count
of Assault in the Second Degree (Penal Law Section 120.05(2)), and
Riot in the First Degree (Penal Law Section 240.06), in connection
with the assault on Antonio Diaz.     Montalvo, known as "Tony", had
been named as a participant, though not a rapist, in Antron
McCray's statement about the jogger attack.' None of the other
defendants   had   named him. ,     Montalvo   was   interviewed  by
investigators  about the events 'in the  park, and made a videotaped
statement to an Assistant District Attorney.          He denied any
knowledge of an attack on a female jogger, and was never charged in
connection with the crime. On-January 29, 1991, he pled guilty to
Robbery in the Second Degree.    He received a sentence of one year.

     17. Orlando Escobar, 16, was also indicted on January 10 of
1990, for Robbery in the First Degree (Penal Law Section
160.15(3)), two counts of Robbery in the Second Degree (Penal Law
Sections 160.10(2)(a) and (1)), two counts of Assault in the Second
Degree (Penal Law Sections 120.05(2) and (6)), and Riot in the
First Degree (Penal Law Section 240.06). The charges pertained to
the assault on John Loughlin.    Antron McCray had stated that a
"Puerto Rican kid with a hoodie" had raped the jogger, and Escobar
may have been the person he was referring to." None of the other
defendants mentioned him in their statements.          Escobar was
interviewed, denied any  knowledge  of  the attack,  and  was never
charged in connection with it.. On March 14, 1991, he pled guilty


     `Montalvo's identity as the perSon McCray was referring to is
firmly established by analyzing. McCray's statement and a number of
others made during the 1989A.nvestigation.       McCray identified
"Tony" as a participant in -the assault on Antonio Diaz, and the
person who took his food and ate some of it: Four others said the
same thing. Raymond. Santana stated that Montalvo admitted to him
that he was the perSon who had taken and eaten the food.         In
statements made to the police at the time, Montalvo acknowledged
having done so.   Finally, Kevin Richardson stated that a person
named "Tony" participated in the assault on Diaz, and said that he
lived in the Lehman Projects. That was Montalvo's residence at the
time.

     "That conclusion is based upon an analysis of the contents of
McCray's statement and others.    In the course of his videotaped
statement, McCray mentioned ultimately leaving the park with
another youngster. He did not know the person well, and could not
immediately recall his name. Later in the statement, he remembered
that his name was Orlando. In Escobar's own statements, he made it
clear that he had played a role in the incidents involving Diaz,
the tandem bicyclists, and the joggers at the reservoir, but that
he was not well known to the others in the group. In an interview
with another individual conducted in 1989, that individual said
that he saw McCray and Orlando Escobar when they returned to their
apartment complex, and that both were wearing black hoods.

                            PAGE 5 of 34




                                                                    NYCLD 030685
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 7 of 35



to Attemzted Robbery in the second Detre=. He was
months incarceration and four and one-half years probat'on.

       18.   On April 21, 1989, Clarence .            14, w,== -ch=r;=-;. in a
             Courtcomclaint with Race in ta rirst Decree 1.--=n= 1 Law
          1 30.35(1 )), Attempted Murder in the Second Decree (17--n= 1
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None of the other defendants named him. TAllibwas interviewed ar."
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      21.    Kevin Richardson =n' Kharev Wise were                   a
                          =-cm Or-tob=r  , 1 3.92, to- December __, 1332.

Richardson was fcund                                        Wise
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was convicted o= A=s=ult    the rirs: Detre= and Sexual Abuse in
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  Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 8 of 35




remaining charges.   Because of Richardson's age, Justice Galligan
set aside all of Richardson's convictions except for those for
Attempted Murder in the Second Degree and First Degree Robbery,
Rape, and Sodomy. The court sentenced Richat.dson, as a juvenile,
to consecutive prison terms of from three and one-third to ten
years on each count, resulting in an aggregate term of from five to
ten years. Wise was sentenced'to terms of imprisonment of five to
fifteen years for Assault in the First Degree, two and one-third to
seven years for Sexual Abuse in the First Degree, and one to three
years for Riot. The sentences were imposed concurrently, for an
aggregate term of five to fifteen years.

     22. Yusef Salaam's conviction was affirmed by the Appellate
Division (187 A.D.2d 363) and by the Court of Appeals (83 N.Y. 2d
51). Antron McCray's conviction was also affirmed by the Appellate
Division (198 A.D.2d 200), and the Court of Appeals denied leave to
appeal.   The same is true of the conviction of Kharey Wise (204
A.D.2d 133).   Kevin Richardson's conviction was affirmed by the
Appellate Division (202 A.D.2d 207).        Raymond Santana never
perfected an appeal.

             EVIDENCE AGAINST THE DEFENDANTS AT TRIAL

     23. A thorough and extensive investigation was undertaken at
the time of the original proceedings in an effort to develop -
additional evidence.   Nevertheless, the People's case at both
trials rested almost entirely on the statements made by the
defendants.*

     24. In addition to the defendant's themselves, twenty-four
young men who were in Central Park on the night of April 19 were
interviewed, some repeatedly, as were a number of the defendants'
other associates. However, only one associate of one defendant,
Kharey Wise, testified at trial. Her testimony related to a single
inculpatory statement she said Wise had made to her, after he had
been indicted."


     *Kevin Richardson and Antron McCray each made one written and
one videotaped statement.      Raymond Santana made two written
statements, with a supplement to one of them, and a videotaped
statement.    Yusef Salaam made one oral, unrecorded, unsigned
statement.    Kharey Wise made two written and two videotaped
statements.

      **That witness was Melody Jackson. Her brother, much younger
 than she, was a friend of Wise, and she herself had known Wise for
 years.   She testified that 'on one occasion when she was in the
-family apartment where her brother lived, Wise had telephoned from
 jail. He called to speak with members of the family, as he often
 did. She testified that when she got on the telephone, she told
                                                     (continued.. .)

                            PAGE 7 of 34




                                                                     NYCLD 030687
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 9 of 35




     25. The crime scene, the victim,- the defendants, and their
personal effects were all examined for forensic evidence. Those
examinations resulted in the collection of blood, semen, and hair
evidence which was tested using the technologies in existence at
the time.

     26. The crime scene covered a wide area, and comprised five
separate sites at which relevant evidence was recovered. All of
the sites were on or north of the 102nd Street transverse. Two
substantial bloodstains, each roughly two inches in diameter, were
located on the transverse road itself, just north of the midline.
Beginning at the edge of the roadway was a visible path of
flattened vegetation, measuring from sixteen to eighteen inches
wide, which extended to the treeline that began forty feet to the
north. Within the wooded area .where that vegetation ended, a trail
continued to be visible for some distance in the dead leaves and
other matter covering the ground.

     27.   Inside the treeline, approximately seventy-eight feet
from the  roadway, imore bloodstains were discovered at a location
where the ground -- bare earth covered by leaves and twigs --
appeared to have been disturbed. Blood samples were taken from
leaves in the area, and a rock which appeared to have blood and
several hairs on it was removed for testing.     Approximately two
hundred twenty-five feet beyond that, farther into the wooded area
and down a slope, was another, larger area of disturbed ground with
a considerably greater quantity of visible blood and a single hair.
A trail of apparent blood spots was observed between the two sites.
A white sock and the insole of a jogging shoe were found a short
distance away from that second site, and a fragment of brick was
also recovered. A second sock was found about forty feet away.

     28. The jogger herself had been found at .the bottom of the
slope, near an unpaved path, forty-seven feet from the location of
the disturbance above. On the opposite side of the path, scattered
approximately thirty-two feet from where she lay, investigators
recovered a pair of black jogging tights and two jogging shoes.
One of the jogging shoes was untied, and the insole had been
removed; the other shoe was tied. •

     29.   Numerous items of physical evidence found at each of
these locations were removed and tested for forensic evidence. For


     —(...continued)
him she could not believe what she was hearing about his having sex
with "that woman." According to Jackson's testimony, Wise replied
that he had not had sex with her, but had only held and fondled the
victim's leg. Jackson never mentioned Wise's statement to anyone,
including members of her own family, until the eve of trial, when
her brother was being questioned about Wise by the police, and
Jackson interjected with the information.

                           PAGE 8 of 34




                                                                   NYCLD 030688
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 10 of 35




purposes of this motion, only two of the specific test results need
be delineated.

     30. The rock recovered from the disturbed site closest to the
road was found to have human blood on it. The rock was sent to the
F.B.I. for DNA testing, but rio DNA profile could be created. It
was, however, typed according'to the.farless discriminating. ABO
system, and certain' proteins 'or antigens- identified.  The test
results indicated that it was consistent; with the jogger's blood
type. The hair fragments found on the rock were also examined by
the only means then available, a visual, microscopic comparison
with samples taken from the jogger.    The comparison yielded the
conclusion that the hair on the rock was consistent with the
jogger's -- meaning that it had characteristics similar to her
hair, and could have come from her.

     31. Utilizing those results, testimony about the rock and the
hairs that had been found on it was elicited at both trials. The
microscopic analyst who had examined the hairs testified in the
trial of Salaam, McCray, and Santana that the hair' fragments on the
rock were fragments of crushed and broken head hairs from the
temporal area of the head. He further stated that in his opinion,
they had been crushed and broken due to force from the rock. The
expert went on to state that it was his belief that the rock could
have been used to strike the head of the victim. In the trial of
Richardson and Wise, he stated it as his opinion, to a reasonable
degree of scientific certainty, that the victim had probably been
struck on the side of the head with the rock.

     32. DNA evidence was extracted from semen deposited on the
jogger's sock, found near her at the crime scene. It did not match
any of the defendants, or any other known sample.* The same was
true of DNA.evidence extracted from a cervical swab; it did not
match the defendants or any other known sample. Expert testimony
at trial, however, established that the DNA from both the victim
and the sock appeared to have come from the same source. Testimony
also established that the DNA was not a mixture; it was from a
single source, meaning that only one individual had ejaculated. A
pubic hair found on the sock was also examined microscopically. It
was likewise found to be inconsistent with the defendants and every
other known source.• The known samples included samples from all of
the individuals whom the defendants had specifically named as
rapists.



     *In addition to samples taken from the defendants, the jogger, ,
John Loughlin, Antonio Diaz, and the jogger's boyfriend, samples
were also secured from Steven Lopez, Michael Briscoe, Antonio
Montalvo, Jermaine Robinson, Clarence Thomas, and Lamont McCall,
all of whom had been with the defendants in Central Park that
night.

                           PAGE 9 of 34




                                                                    NYCLD 030689
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 11 of 35




     33. The People offered testimonial and photographic evidence
about the nature and extent . of the injuries sustained by the
jogger. All of the relevant• medical personnel were interviewed,
and a number were called to testify, including an expert witness
from the Medical Examiner's Office who described each of the
jogger's injuries for the juries. The People were unable to offer
medical testimony to the effect that the injuries the jogger had
sustained could only have been inflicted by multiple perpetrators.*

     34.   Ultimately, there proved to be no physical or forensic
evidence recovered at the scene or from the person or effects of
the victim which connected the defendants to the attack on the
jogger, or could establish how many perpetrators participated.

     35.   The only forensic evidence recovered which in any way
connected the defendants to the crime consisted of three hairs
found on Kevin Richardson's clothing and one hair found on Steven
Lopez's clothing.**    Richardson's clothing yielded nine human
hairs, all of which were examined microscopically. Six were not
consistent with the jogger. Three others,' one from his underwear,
one from his t-shirt, and one from his blue jeans, were found by
the examiner to be consistent with the jogger's hair. A similar
conclusion was reached with respect to one out of the twelve hairs
recovered from Steven Lopez's clothing; that hair was found on his
shirt. The examiner's report of his findings with respect to the
hairs on Richardson and Lopez, as well as the hair fragments
recovered from the crime scene, stated that they ."could have
originated" from the jogger.***

     36. Testimony concerning the hairs found on Richardson was
introduced at both trials. Testimony concerning the hair found on
Lopez was introduced only at the trial of defendants Richardson and
Wise. .


      *As part of the 2002 reexamination of the case, Dr. Charles
 Hirsch, Chief Medical Examiner of the City of New York, reviewed
 the jogger's medical records and photographs. He has stated as his
 opinion that "Nothing about the distribution or severity of
'[the victim's] injuries indicates or reveals the number of
 assailants, which could have been one or more."

      —The value of the hairs found on Richardson's clothing was
 compromised by the fact that the clothing was spread on the
 precinct floor to be photographed before the hairs were removed.
 There was, therefore, a possibility of contamination.

      —*Two hairs were also removed from the clothing of Antron
 McCray, and ten from the clothing of Raymond Santana; they were
 not consistent with the jogger's hair. Kharey Wise's clothing was
 not taken because it had been laundered. Yusef Salaam's jacket was
 taken; no hairs were recovered.

                           PAGE 10 of 34




                                                                     NYCLD 030690
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 12 of 35




                      NEWLY DISCOVERED EVIDENCE

The Evidence Provided by Matias Reves

     37. In early February of 2002, the District Attorney's Office
was notified that an inmate had come forward with a claim that he
had attacked and raped the Central .Park jogger, and that he had
committed the crime alone. .The inmate, Matias Reyes, had informed
a Corrections Officer of his .Claim.     He had then been formally
interviewed, on January 17, by:an investigative  supervisor from the
Inspector General's Office. .:Following that,. information about his
contentions was forwarded to the. District Attorney's Office.

     38.   Reyes, now 31, is serving sentences totalling thirty-
three and one-third years to life imprisonment for three
rape/robberies, one rape/murder, and one robbery' that he committed
between June 11 and August 5, 1989. The sentences were imposed on
November 1, 1991, after Reyes admitted his guilt and entered pleas
of guilty to the top counts in each case.

     39.   Reyes' 1991 prosecutions had rested in part on DNA
evidence taken from his victims and from the scenes of his crimes,
which matched the DNA in a sample taken from him. That evidence
had been tested using the technology then in existence, RFLP, as
were the samples in the Central. Park jogger case. Immediately upon
learning of Reyes' claims, efforts were undertaken to locate the
evidence from both cases, and the FBI laboratories were asked to
make a comparison. On May 8, 2002, the District Attorney's Office
was notified that Reyes' DNA matched the DNA taken from the sock
that had been found at the Central Park crime scene.

     40.   As soon as notification of the initial comprison was
received from the FBI, steps were taken to bring Reyes to the
District Attorney's Office for a further investigation of his
account. Reyes was interviewed for the first time on May 23. He
was interviewed again on May 28, when he was brought to Central
Park, and on May 30.   He has subsequently been questioned on a
number of occasions. Reyes has also provided samples of his blood,
head,  and pubic hair, and signed consent         forms allowing
investigators access to his complete prison file and all of his
mail. He has been interviewed extensively about the Central Park
jogger case, about his criminal and personal history, about his
motives in coming forward, and about his associations.

       41. The information Reyes provided in each of those areas has
been    extensively investigated    with   a  view   toward   either


     'According to Reyes' 2002 statements, he intended to rape the
victim, but was interrupted byjieighbors before he could force her
into her apartment from the hallway. where he accosted her.

                            PAGE II. of 34




                                                                    NYCLD 030691
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 13 of 35




corroborating or refuting his statements. The investigation has
included interviews with polide officers, Corrections personnel,
inmates, and civilians, as well- as a review of all relevant records
pertaining to Reyes' personal, criminal., and psychological history
and the original investigation and prosecution of the attack on the
Central Park jogger.

     42. That investigation has led to the conclusion that Reyes'
account of the attack and rape is corroborated by, consistent with,
or explanatory of objective, independent evidence in a number of
important respects.    Further, investigators have been unable to
find any evidence that, as of 1989, Reyes knew or associated with
the defendants or any of the individuals known to have been in the
park with them on the night of April 19. In any event, in their
statements, several of the defendants themselves named or otherwise
identified the individuals they claimed raped the Central Park
jogger; the evidence indicates that none of those individuals is
Matias Reyes.    In addition, Reyes has proven to be candid and
accurate about other aspects• of his life, associations, and
history, both personal and criminal.'.        A full review and
investigation of that criminal history has revealed significant
parallels with the jogger attack, and also resulted in the
discovery of important additional evidence.

     43. Reyes states that his decision to come forward with his
confession was prompted by a chance encounter with Kharey Wise in
Auburn Correctional Facility, and the resultant realization that
Wise was still incarcerated in connection with the attack,on the
Central Park jogger. Reyes says that he feared Wise's reaction,
and therefore disclosed nothing to him about his own culpability.
However, he began seeking advice from different individuals in the
prison system, telling them that he had committed a crime for which
someone else had been convicted, and wanting to know how he could
bring his information to the attention of appropriate authorities.

     44. Corrections records reflect that Wise and Reyes were both
imprisoned at Auburn during. the relevant time period,* and
interviews with prison officials have established that the
encounter Reyes described could have taken place. Interviews with
a number of Corrections employees, volunteers, and inmates have
confirmed Reyes' assertion that he began seeking help with a
problem in late 2001. He.specifically told some of them that he
had committed a crime for which another person had been convicted,
and that he wanted to rectify the situation.          Ultimately a
Corrections Officer, observing that Reyes seemed very troubled,
induced him to explain what was bothering him and set in motion the
process by which he came to the District Attorney's Office.


     *Wise and Reyes had last been incarcerated in the same
institution from February to June of 1990, when both were in the
Adolescent Reception and Detention Center at Riker's Island.

                           PAGE 12 of 34




                                                                    NYCLD_030692
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 14 of 35




     45. Reyes does not attribute his decision to come forward to
having "found God," although he has stated that he has found
religious services to be helpful. He has consistently explained
himself in terms of his positive experiences in prison, the fact
that people have treated him decently despite the nature of his
criminal history, and his guilty reaction to seeing Wise.

     46. Reyes' motives cannot -be objectively proven or disproven.
However, an extensive investigation has revealed no evidence that
the defendants themselves induced him to come forward. There is no
evidence of any connection between the defendants and Reyes prior
to their incarceration in 1989. Except for a brief period in 1990
when he and Kharey Wise were in the same jail, he has not been
imprisoned with any of them.*   Moreover, none of them appeared to
know of Reyes' claim until many months after he first spoke with
Corrections officials. In fact, Kharey Wise was still incarcerated
when Reyes made his claim, and did not apply for conditional
release until July 26, 2002.     Further, the one assurance Reyes
sought when he first spoke with a Corrections Officer was that he
would receive protection. He stated that he feared what Wise might
do when he learned that it was Reyes who committed the crime he was
imprisoned for.

     47.   More important, information Reyes has provided about
himself and his history has consistently proven to be reliable and
accurate, both about matters 'related to the case and matters with'
no direct connection to it. .Reyes has also been candid, even with
respect to aspects of his history that might cast doubt on his
credibility.

     48. For example, Reyes volunteered that he used to commit
robberies and larcenies on a regular basis, stealing jewelry,
money, and Walkmans.     He frequently committed such crimes in
Central Park, often by the reservoir. He was able to recall the
details of several of his larcenies, and described the patterns he
followed with respect to robberies.     Those activities were not
reflected in his records.     Reyes also said that he had been
arrested on one occasion, for a robbery he committed with several
acquaintances in 1988, but that the case never went to court.

     49. This information proved to be accurate. Investigators
were able to retrieve records reflecting the arrest Reyes spoke


     *Reyes himself picked a photograph of Michael Briscoe and
stated that he. thought they might have been in the same jail early
in his incarceration.     As noted above, Briscoe was one of the
individuals charged in connection with the incidents in the park.
Reyes' information was correct:    the two were in the Adolescent
Reception and Detention Center at Riker's Island from March 5, 1990
to May 31, 1990, although at that point, Briscoe was there for an
unrelated arrest.

                           PAGE 13 of 34




                                                                    NYCLD 030693
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 15 of 35




about. They were also able to identify and locate individuals who
knew Reyes in the late 1980's, and who•confirmed the truth of his
admissions. A number of people observed him with stolen property,
including both jewelry and Walkmans.

     50. The investigation has uncovered no evidence that Reyes
knew any of the defendants or the others who were with them in
Central Park on the night of April 19.        That fact has been
established by proof coming from two directions -- on the one hand,
from interviews with people who knew Reyes; and on the other hand,
from current and past interviews with the defendants and their
associates.

     51.   In 1989, Reyes was living on his own, working on an
informal basis in a bodega on 102nd Street, across from the 23rd
Precinct.   Much of the time, he slept in a van belonging to the
bodega's owner; occasionally he stayed with a neighborhood family
who felt badly for him. Investigators from the District Attorney's
Office interviewed fourteen people who knew Reyes in 1989.       A
number of them saw him on a daily basis.

     52. Many of those people describe Reyes as having been a
loner, whom they never saw in association with any young people
other than the two teenage sons of the family which occasionally
helped him. However, Reyes himself said in interviews that he used
to commit petty crimes, such as shoplifting, with some neighborhood
acquaintances. . A number of those acquaintances were located. All
were from the 102nd Street area -- in their .own minds, a
neighborhood distinct from the defendants'.*        None knew the
defendants or their associates, and none ever saw Reyes with the
defendants or their associates.      Two detectives from the 23rd
Precinct who knew Reyes from the bodega where he worked and saw him
regularly state that he appeared to be a "loner", and that they
never saw him with anyone other than those who frequented the •
bodega.

     53. In the defendants' own 1989 statements, they listed those
they knew who were in Central Park with them. None named Reyes, by
his real name or a nickname.** The same is true of the twenty-four
other individuals from the park who were interviewed at the time.


     *The defendants and their companions        were   from   housing
complexes located somewhat farther north.

     —At the time of his arrest in 1989, Reyes told police that he
liked to call himself "Tony." However, in interviews with a dozen
people who knew him in 1989, all said that they knew his nickname
to be "Checo," and that they never knew him to be called "Tony."
In his 2002 interviews, Reyes said that "Tony" was an older boy he
admired when he was younger. He liked the name, and occasionally
called himself that.

                           PAGE 14 of 34




                                                                    NYCLD 030694
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 16 of 35




Raymond Santana, Kevin Richardson, and Michael Briscoe were
interviewed in 2002, before news had broken of Reyes' information.
They were shown photographs which included a picture of Reyes, and
evinced no recognition at all. The same is true of a number of
other individuals, present in the park in 1989, who were
reinterviewed in 2002.

     54. In any event, in their 1989 statements about the crime,
three of the five defendants named or otherwise identified everyone
they said raped the jogger. BaSed upon the evidence, it is a fair
conclusion that none of the people they identified is Reyes.*

     55. Reyes' convictions arose from crimes he committed on June
11, June 14, July 19, July 27,- and AuguSt 5,. 1989. The basic facts
of those crimes are as follows:

     (1) On June 11, 1989, Reyes stalked, raped, robbed, stabbed,
and beat a twenty-four year old white woman in her apartment on
116th Street, between Park and Lexington Avenues. He used a knife
he got from the victim's kitchen, and he stole, among other things,
the victim's Walkman. The victim suffered a fractured nose, two
black eyes, and multiple areas of bruising, some of them large, on
her knees, her legs, her neck, and her flank. In addition, the
victim had two superficial stab wounds on her thigh, one in her
side, one on a finger, one near her left eyebrow, and one under
each eye.

     (2) On.June 14, 1989, Reyes raped, robbed, and stabbed to
death a twenty-four year old, light-skinned, bldnde Hispanic woman
in an apartment on 97th Street; between. Madison and Park Avenues.
Again, Reyes used a knife he procured from the victim's kitchen.

     (3) On July 19, 1989,.Reyes stalked; raped, robbed, and cut
a twenty year old white woman inside an apartment on Madison
Avenue, between 95th and 96th.$treets. : Reyes brought .a knife with
him. In addition to other property, Reyes took his victim's ATM
card and PIN number. He then tied her with extension cords in a
fashion which parallels the way the Central Park jogger was tied,**
so that he could go to the bank and withdraw money.       Because he
had bound his victim, Reyes called 911 to summon help for her. The


     *Raymond Santana claimed that he left the scene after Kevin
Richardson had raped the jogger, while the crime was still ongoing.
Yusef Salaam's statement was incomplete, and he spoke of two
unidentified individuals having raped her.

     "Reyes used extension cords to tie his victim. He bound her
feet with one cord, used another to tie her hands, and a third to
gag her by wrapping a cord around her head and crisscrossing it
through her mouth. The cords were attached so that her hands were
raised in front of her face.

                            PAGE 15 of 34




                                                                     NYCLD 030695
    Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 17 of 35




victim suffered small, superficial cuts over one eye and under the
other.

     (4) On July 27, 1989, Reyes stalked, robbed, and punched .a
twenty-eight year old white woman in the hallway of her apartment
building on Lexington Avenue, *at the corner of 95th Street. Reyes
was unarmed. The crime was interrupted by neighbors. In his 2002
interviews, Reyes stated that he intended to rape the woman.

     (5)  On August 5, 1989, Reyes stalked, raped, and robbed a
twenty-four year old white woman in her apartment on East 91st
Street, between Lexington and Third Avenues. Reyes was unarmed. He
took the victim's bank card, and forced her to give him her PIN
number. He intended to tie his victim, but she escaped before he
could carry his plan out.

     56.   In the course of his interviews, Reyes volunteered
information about other sex crimes he had committed, for which he
had never been arrested.    One of the crimes he discussed was a
sexual assault which he said he had committed in Central Park. His
memory of the event was limited. He accurately recalled the exact
location of the incident, and thought it had occurred in the
daytime, but beyond that, he •essentially knew only that he had
accosted a woman with the Intention of raping her, and that the
crime had been interrupted by bystanders. He did not know when the
crime had taken place, although he believed it occurred in 1989.

     57. The crime Reyes was describing was eventually identified,
and the victim and witness located. Reyes.had told the truth when
he said that he committed the crime.     He had in fact attacked,
beaten, raped, and robbed a twenty-six year old white woman who had
been exercising in the park near Lasker rink and pool, at roughly
the level of 107th Street.      Reyes was unarmed.    •A bystander
intervened as the attack was ongoing, and Reyes left the park,
calmly, taking the victim's property with him.

     58.   Substantial circumstantial evidence establishes Reyes'
identity as the perpetrator.    Reyes knew, and in fact drew, the
precise location where the crime occurred. There are no records of
any other attack occurring there during the relevant time period.
The victim stated that the attacker identified himself as "Tony."
The victim and witness gave descriptions which are similar to Reyes
as he appeared at the time,       The victim picked a photograph
resembling Reyes as a look alike in 1989.     The witness recently
identified a 1989 photograph of Reyes as looking "most like" the
attacker.    The victim described the attacker as having fresh
stitches in a cut on the right side of his chin, and medical
records reflect that Reyes had received stitches in that location
the day before the incident. Reyes is not clear about whether the
incident he remembered was an attempted or completed rape, but that
may be explained by the fact that, according to the victim, he
apparently did not ejaculate.

                              PAGE 16 of 34




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                                                                        NYCLD 030696
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 18 of 35




     59.    The incident occurred on April 17, 1989, in mid-
afternoon, two days before the attack on the Central Park jogger.
The victim was badly beaten about the head.       She had a large
hematoma on her forehead, abrasions to both knees, bite marks on
her left upper arm and neck, scratches over her neck, face, knees,
and back, and multiple bruises.    In addition, her right ear was
bruised and swollen,   and her  right eye was bruised and showed
subconjunctival hemorrhages. She recalls that at some point her
attacker had his foot on her head.     The victim was treated and
released, and the case was marked closed after initial efforts to
contact the victim were unsuccessful.

     60. Reyes disclosed information about a second sexual assault
which he said occurred in a church located at Fifth Avenue and 90th
Street. Reyes remembered and described the scene accurately and in
detail, but again, could remember little about the incident itself.
In summary, he knew that he had accosted a woman inside the church,
dragged her down a staircase with the intention of raping her, and
then abandoned the sexual attack when she claimed to have some sort
of disease. He took money and jewelry from the victim, and left.
He did not know when the crime was committed, nor did he remember
any other particulars of the attack itself.

     61.   That incident, also, was eventually identified.       It
occurred in the Church of the Heavenly Rest, across from Central
Park, on September 21, 1988.      Again, Reyes' admission that he
committed the crime proved to be truthful. Reyes attacked, choked,
struck, robbed and intended to rape ,a twenty-seven year old white
woman. He was armed with a small knife, and he forced the victim
to disrobe, but was dissuaded from raping her when she told him she
had an infection.      The victim suffered, multiple superficial
scratches and bruises.' ThecoMplainant viewed photographs on file
with the Police Department:, and picked no. one; Reyes' photograph
was not on file. The case was then marked closed.

     62. Reyes was also questioned about some of the other crimes
for which he was convicted.  The degree of detail with which he
could describe them varied: in some instances his recollections
were extraordinarily complete, particularly with respect to the
events leading up to and following his crimes, and the concrete
details of locations, pathways, and proceeds;     in others, his
memories were more sketchy.

     63. The following summarizes the essentials of Reyes' account
of his attack on the jogger:




     'The victim in the case:was interviewed in 2002, but this
description' of the crime is base& on her- 1989 account of what
occurred.

                           PAGE 17 of 34




                                                                    NYCLD 030697
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 19 of 35




     (1) Reyes states that he left the bodega where he worked and
headed. for Central Park. ItHwas.likely. he would commit some kind
of crime, but not necessarily:Arape.. He entered the park at 102nd.
Street, and he first saw the jogger as she:proceeded north on the
East Drive, just south of the..102nd Street entrance to the park.
She was running in the jogging lane on the east side of the road,
wearing long black or navy blue jogging tights. They were tight,
and Reyes says he was attracted to her partly because he could see
her "butt."

     (2) Reyes moved to the other side of the East Drive and began
to follow the jogger, with the intention of raping her. He did not
want her to sense or see him directly behind her, so he began "zig-
zagging" on the side of the road. He was waiting to see whether
she would take the long route around the park, heading north until
the road looped around, or the short route, cutting across the
102nd Street transverse. She took the short route, moving to the
north side of the transverse road and heading west. He crossed to
the north side as well, still following her.

     (3) Reyes states that he.caught sight of a "stick" or branch
lying on the ground to the north side of the road.. (In diagrams
and in a visit to the park Reyes has indicated the area he is
talking about.)     He picked up the stick.       The stick was
substantial;    it  required  two  hands to  hold.    Reyes then
accelerated to catch up to his victim.

     (4) The jogger was wearing a headset, and she seemed to be
playing it loudly, as she did not hear his approach. Reyes came up
behind her and struck a heavy blow to the back of her head. Reyes
does not know exactly where or how he hit her. He is left-handed,
but says he may well have struck her overhand, or from some other
angle. The jogger fell forward. Her Walkman fell to the roadway.
Reyes has diagrammed and shown investigators the approximate point
on the road where he says he struck her.

     (5) Reyes says the jogger was conscious but clearly stunned
and incapable of fighting, and that he then dragged her off the
road. Initially, he dragged her over ground that was grassy, with
some grass "higher," and some grass "lower", into a "bushy" area.
He explains that by a "bushy" area, he means an area among the
trees;. covered with dead leaves and sticks, which becomes more
overgrown in the summer; it was not overgrown at the time of the
incident.   The area he dragged her into is to the north of the
roadway.

     (6)   Reyes does not know how he dragged the jogger.        He
stopped when he reached a reasonably secluded spot. At that point,
she appeared to be recuperating from the original blow to her head,
because she was talking and protesting.         He has repeatedly
described her as holding her hand up to the right rear of her head,


                           PAGE 18 of 34




                                                                    NYCLD 030698
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 20 of 35




saying that she was bleeding. He states that he saw blood on the
right shoulder of her t-shirt.

     (7) Reyes' account of what then took place inside the wooded
area is more fragmentary. He says that he cannot remember all the
details of what took place, and therefore cannot give a complete
narrative, but is positive about certain facts.

     (8)   Reyes states that he knows that he pulled off the
jogger's tights and shoes, and raped her. At some point, which he
believes was after he raped her, she broke away from him and ran;
he says that he has an image .of her running while naked from the
waist down. Somehow he brought her down, possibly by pulling her
shirt up over her head.. Reyes had already, beaten her in the spot
they were in originally, but at that point the violence escalated.
Reyes knows that he struck her in the face and head with a rock and
other things. He cannot specify what other things he used.       At
some point in the course of the incident, he also used his hands on
her. He does not know how many times he hit her with the rock, but
knows that it was "more than a couple."

     (9)   Reyes says that he also knows that at some point, he
found the jogger's keys; he believes she had two, and he knows
they were in a black key case which zipped around and had Velcro on
it. He'describes the case as being the sort that can be attached
to a belt, but says he does not recall where she wore it since she
had no belt. Reyes says he is particularly clear about the keys
because after he found. them, jie began demanding .that.the jogger
tell him her address.      His intention was to burglarize her
apartment.   She refused to .give him the information.     That, he
says, angered him, and caused him ta. escalate the level of
violence. He knows that the,jogger had no. money .on her, although
he does not specifically remember:searching for money.

     (10)   Reyes states that he threw her clothes somewhere.
However, he cannot remember what happened to her t-shirt. He says
that he recalls there being "something on her face" when he left,
and thinks somehow her t-shirt might have been over her head. He
does not have any memory of tying or gagging her.       At various
times, Reyes has also said that he may have moved her, or may- have
turned her over.

     (11) Reyes says that when he left the jogger, she was bloody
and unconscious, but still alive. He could hear her breathing,
making some kind of hard sound in her throat, as though something
had been broken.

     (12) Reyes says that he tossed the rock he used somewhere,
but does not know where, or: even whether: it was in the immediate
area. He then made his way. out of the wooded area in the same way
he had come in. When he reached the. roadway, he saw that the stick
he had used on the jogger was:still there; he picked it up and

                           PAGE 19 of 34




                                                                    NYCLD 030699
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 21 of 35




threw it off to one side of the road or the other. He also saw the
jogger's headset, still lying where it had fallen. He put it on,
walked up onto the baseball—felds to the zouth of the road, and
headed out of the park. At-some point he tossed the keys and case
away. He is not sure when.or, Where; it may have occurred as he
was leaving the park, but could have happened earlier.

     (13) Reyes came out at the 102nd Street entrance to the park,
which intersects with the East Drive at a point south of the
transverse road. There, he saw a detective he knew from the 23rd
Precinct named "Blondie," who was just entering the park. "Blondie"
was in a yellow cab with a partner whom Reyes did not know.
"Blondie" questioned him briefly about a commotion in the park, and
let him go on his way.

     64.   Reyes' version of events regarding the attack on the
jogger is corroborated by, consistent with, or explanatory of
objective, verifiable evidence in a number of important respects.
The following sets forth some- of the more significant points, in
summary form:

     (1)   Reyes is accurate about the direction the jogger was
coming from and the direction she was -travelling in, and he
correctly describes her jogging tights, which were tight, black,
and ankle-length.   He has also indicated that she may have been
wearing a white t-shirt, which.she was.

     (2) Reyes' assertion that he began his attack by striking the
jogger in the back of the head with a heavy branch is consistent
with and explanatory of medical and crime scene evidence. The same
is true of his description of the jogger's mental status after the
attack, of his recollection of her holding her hand to the right
rear of her head, and of his observation of blood on her right
shoulder. The jogger had a depressed skull fracture, with a large,
overlying laceration, in the right parietal/occipital region of her
head -- in other words, in the upper right rear of hex head.
According to Dr. Hirsch, that injury is fully consistent with a
blow from a heavy branch, and with the rest of Reyes' observations.

     (3) Reyes maintains that_the jogger_was wearing a Sony AM/FM
headset, with color's on the dial. The jogger was in fact wearing
a headset when she was attacked.     The Walkman disappeared, and
despite an extensive search, was never found. She does not recall
the make, but believes it may have had colors on the dial.

     (4)   Reyes is accurate in his description of the location
where the attack occurred, and of the terrain he covered in
dragging the jogger into the woods. Crime scene photographs show
a distinct path of flattened groundcover in vegetation that is a
mixture of grasses and weeds of varying heights.    The pathway is
sixteen to eighteen inches wide, and appears to be more consistent
with a single attacker dragging an inert form than with a group.

                           PAGE 2.0 of 34




                                                                     NYCLD 030700
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 22 of 35




Vegetation to the side of the flattened path shows some sign of
being disturbed, but trial testimony established that that was the
result of crime scene personnel walking there. There are no other
indications of trampling in the immediate area.

      (5) Reyes says that he took the jogger's keys, which he found
in a small, black case that zipped around and had Velcro on it. He
believes there were two keys. It was known in. April of 1989 that
the jogger's keys were gone; their disappearance was unexplained.
At the time, nothing was known about a case. In 2002, the jogger
was asked about the possibility that she had a case. She stated
that she was inclined to say that she carried her keys on a ring,
but that she did own a dark green or black case with Velcro on it.
She does not think that it had a zipper.. It was the type of case
that can be attached to a shoe. One of the jogger's shoes, found
at .the scene, was untied, as it would have been had a case been
removed from it.    The other shoe was still tied, as would be
expected if it were pulled off in the course of a violent attack.
The jogger also believes that she carried two keys.

     (6) Reyes' recollection that' he threw the jogger's clothes is
consistent with the crime scene evidence.     The location of her
tights, shoes, and one sock indicate that they were in fact thrown.

     (7) Reyes says that he beat the jogger in the head repeatedly
with a rock. According to Dr. Hirsch, the medical evidence shows
five lacerations and a skull fracture in the left temporal forehead
area, all caused by...blunt force trauma. He also states that when
he left her, she was unconscious but not dead.. He could hear her
making a hard sound in her.throat as,she . breathed. His description
of her condition is consistent with the nature and extent of her
injuries. The first officer. on the scene testified that when he
arrived at the scene, he could hear gurgling sounds coming from
deep in her throat.

     (8) Reyes maintains that he ran into "Blondie" on his way out
of the park, and had a brief conversation with him. "Blondie" is
a detective from the 23rd Precinct who knew Reyes. He used to see
him regularly at the bodega where he worked. He does not remember
whether he saw and spoke with Reyes in the park that night or not.
Circumstantially, however, it is clear that Reyes did at least see
"Blondie" on the night of the 19th. "Blondie" confirms that he did
in fact enter the park, and that he did so at 102nd Street, in
response to reports about criminal activities in the park.
"Blondie" also confirms that he was in fact in a cab and was with
someone who was not his regular partner. To the detective, Reyes
was a harmless teenager. As .he candidly reports, if he had seen
Reyes and spoken to him, he would not have suspected him of
criminal activity, and would have let him go. The fact that Reyes
did see "Blondie" tends to confirm that he was not with the
defendants.   Given the nature of the criminal activities being


                           PAGE 21 of 34




                                                                    NYCLD 030701
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 23 of 35




reported, it seems likely that "Blondie4' would have stopped a group
of teenagers.

     65. Reyes account of events is the first that has suggested
an explanation for the existence of two areas of the crime scene
where it appeared that attacks took place.            His specific
recollection that the jogger broke away only after he had raped her
is, however, probably not correct. The jogger's clothing was found
below the second site where an attack appeared to have occurred.
That pattern of evidence indicates that her jogging tights were
undoubtedly not pulled off her until she was at that second
location. A. more plausible scenario than the one Reyes recounts is
that she broke and ran from him before the rape.       However, the
inaccuracy of Reyes' account in that regard  should be evaluated in
light of the passage  of thirteen years.

     66. Moreover, in evaluating the weight a jury would be likely
to place upon his testimony, his failure to recall all the details
of the incident must be placed in the context of his memories of
other events.    It was Reyes .who 'freely disclosed that he had
committed other sexual assaults, and the investigation revealed
that he was telling the truth .in that regard. Yet when the facts
of those cases were uncovered, his memories of those particular
events proved to be incomplete.

     67.   Corroboration of Reyes' account of the crime is found
both in the pattern of his other sexual attacks and in some of
their specific facts.      He consistently targeted and stalked
Caucasian women, or women who appeared to be Caucasian. His crimes
all involved conversation with his victims, either as a way of
making initial contact or as a way of acquiring information that
would enable him to steal more property.* Frequently, conversation
or a search for property alternated with outbursts of physical or
sexual violence. All of his rapes or attempted rapes also involved
robbery. In particular, where a Walkman was available, he took it.
His beatings often focused on the head. His claim that he demanded
the jogger's address echoes the cases in which he forced his
victims to give him their PIN numbers.     And although he cannot
remember doing it, it is clear that Reyes is the person who tied
the jogger with her own t-shirt. The manner in which she was tied
-- behind the head, through the mouth, with the hands in front --
is strikingly similar to the.way he tied another of his victims.

     68.   One additional piece of physical evidence may also
corroborate Reyes' account. The victim had an oddly shaped wound
on her left cheek, resembling a cross, but with curved arms. Reyes
owned a ring, taken from him at the time of his arrest and retained


     *Reyes makes no claim that this incident was initiated with
conversation, a fact explained by the circumstances in which he
targeted his victim.

                           PAGE 22 of 34




                                                                    NYCLD 030702
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 24 of 35




in the District Attorney's Office, on which the figure of Christ is
raised on the flat surface of a cross. Reyes, who is left-handed,
states that he used to wear the ring on his left hand. The ring
and photographs of the wound were examined at the Office of the
Chief Medical Examiner.' The number of variables involved makes
an exact comparison with the wound impossible.     However, in the
opinion of Dr. Hirsch, "The patterned injury over the prominence of
the victim's left cheek bone is consistent with a left fist blow,
striking at an acute angle, partially imprinting the image of
approximately half of the prominent parts of Mr. Reyes' ring on her
skin.""

Forensic Evidence

     69.   After preliminary DNA results were received from the
F.B.I. in May, the District Attorney's Office retained a private
laboratory to conduct additional forensic testing.

     70. The laboratory performed further tests in connection with
those DNA samples which connected Reyes to the crime. The tests
provide additional corroboration of Reyes' account.     The private
laboratory concurred with testimony given at the defendants' trials
that the DNA'on the sock found at the Central Park crime scene and
the DNA on the cervical swab taken from the victim came from the
same person. Thus, Reyes' DNA matched both..

     71. Moreover, the laboratory found additional, untested semen
on the sock,:vhich it tested using technology.-not in existence in
1989. That test established that: Reyes was -the source of the DNA
to a factor of one in -6,090,000,000-'people.         In addition,
mitochondrial DNA testing established that Reyes was also the
source of the pubic hair found on the sock in Central Park.*** In
short, the DNA tests showed that Matias-Reyes' claim that he raped
the jogger was true, and confirmed that no one• else's DNA was
present in the samples taken from the victim or the evidence at the
scene.

     72.  Efforts were also made to locate all of the physical
evidence which had been gathered at the time of the original


     *No DNA could be recovered from the ring, which Reyes wore
until August 5, 1989.

     —The People introduced expert testimony in the original trial
to the effect that the injury could have been caused by a rock or
a brick.

     'More technically, mitochondrial DNA tests only establish
that a sample came from a particular person or someone else in his
maternal line. In this case, for all practical purposes, the test
established that Reyes was . the source of the pubic hair.

                           PAGE 23 of 34




                                                                     NYCLD 030703
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 25 of 35




prosecution. Those efforts were partially successful, and every
item which could be found was retested.     For purposes of this
motion, however, the relevant test results pertain to hairs found
on Kevin Richardson and the bloody rock found at the scene of the
attack, and to the blood found on that rock.    The hair found on
Steven Lopez could not be located.. L

     73. The three hairs found on Kevin Richardson were reexamined
following F.B.I. protocols for questioned hair samples. The hairs
were first re-examined microscopically and then submitted for
mitochondrial DNA testing.   All had been mounted on slides for
examination in 1989.

      74. The microscopic analysis of the hairs was performed by
Special Agent Douglas Deedrick, formerly Chief of the Hair and
Fibers Unit and currently Unit Chief of the Information and
Evidence section of the F.B.I. Agent Deedrick disagreed with the
expert opinion offered at the original trials. His conclusion was
that the hairs were not suitable for comparison, and could not be
used .to link Richardson to the jogger. In his opinion, they were
too undifferentiated and had too few characteristics for a
meaningful comparison to be— pOssible.   He also disagreed with a
characterization of one of the'hairs as a pubic hair. In his view,
no determination could be made as to, what type of hair it was.

     75. DNA was extracted from all three of the hairs found on
Richardson, and none of the DNA matched the victim's. However, the
official. finding with respect to each. of the hairs is that the
results are "inconclusive." The reasons differ.

     (1) One hair was found to contain a mixture of DNA from two
different people. The jogger's DNA sequence was inconsistent with
any combination of that mixture. The opinion of the examiner is
that one of the DNA sequences probably resulted from contamination
at the time the hair was originally mounted on a slide. Laboratory
protocols require' that when a mixture of DNA is found, no
conclusion will be drawn as to the source of the hair.

     (2) A partial DNA sequence was extracted from a second hair
and compared to the jogger's, and seven "base differences" were
observed;  only two base differences are required to declare an
exclusion. However, laboratory protocols require that results of
each test be verified in order to eliminate the possibility of
contamination. The verification is accomplished by performing a
second test in order to replicate the original results, before
conclusively excluding a possible source of the DNA.   There was
insufficient DNA extracted from the second hair to permit such
verification to take place.

     (3) The third hair had an intact DNA sequence extracted from
it,  which   showed one   base, difference   from   the  jogger's
mitochondrial DNA. Two base differences are required in order to

                           PAGE 24 of 34




                                                                    NYCLD 030704
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 26 of 35




exclude a source, because single differences have been observed in
hairs taken from the same source. However, when such differences
occur in hairs from the same person, they are usually seen in
particular regions of the DNA known as "hot spots." The difference
observed between the jogger's hair and the third hair tested did
not occur in a "hot spot". Additional samples of the jogger's hair
were tested in order to see if the same base difference appeared.
It did not.    Both those factors reduce the likelihood that the
questioned hair originated with the jogger, but she cannot be
excluded as a source to. a reasonable degree of scientific
certainty.

     76. The bloody rock found at the scene was also submitted for
examination, and a limited DNA profile was obtained. That profile
showed that the blood was female human blood, but inconsistent with
the jogger's DNA profile.       However, contamination cannot be
excluded as a possibility. The rock has been handled by a number
of people, and has not been stored in a manner which would ensure
the integrity of the original DNA.       If the original DNA has
degraded, the profile raised may be DNA from an unknown person
deposited over the original DNA.

     77. The hair fragments found on the rock were also submitted
fortesting.    As with the hairs found on Richardson, they were
first examined microscopically by Special Agent Deedrick. He found
them unsuitable for comparison, describing them as fragmentary and
of limited value. In any event, the original hair samples from the
jogger could not be located-.    Because hair changes over time,
samples taken thirteen years later do not provide a suitable basis
for   comparison,  even against     standards of    high  quality.
Accordingly, no new microscopic comparison could be made between
the jogger's hair and the evidence.

     78. Only one of the hair fragments was suitable for testing.
The other fragments were too small. The fragment tested yielded
only a partial DNA sequence, with a number of differences from the
jogger's DNA. However, the size of the sample once again precluded
verification through an additional test, and as a consequence no
conclusive result was provided.

               THE•NEWLY DISCOVERED EVIDENCE CLAIM

     79.    Under Criminal Procedure Law 440.10(1)(g), newly
discovered evidence must meet six criteria in order to justify the
vacatur of a conviction:      (1) it must be such that it would
probably have resulted in a verdict more favorable to the defendant
if it had been received at trial; (2) it must have been discovered
since the trial;    (3) it must be such as could not have been
discovered before the trial by. the exercise of due diligence; (4)
it must be material to the issue; (5) it must not be cumulative to
the issue; and (6) it must not merely impeach or contradict the


                           PAGE 25 of 34




                                                                    NYCLD 030705
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 27 of 35




former evidence.   People v. Salemi, 309 N.Y. 208, 216, quoting
People v. Priori, 164 N.Y. 459, 472 (1800).

      80. The newly discovered evidence in this case consists of
the account of events provided by Matias Reyes, who states that he
alone attacked and raped the Central Park jogger.; DNA test results
which conclusively establish that Reyes was the sole source of
semen found on a sock at the crime scene and a cervical swab taken
from the victim, as well as of a pubic hair found on the same sock;
the record of prior, similar attacks committed by Reyes, including
an assault and rape committed in Central Park two days before the
jogger attack;     and scientific test results undermining the
probative value of evidence introduced in the defendants' trials.
All of that evidence meets the criteria set forth in the statute.*

     81.     The vacatur of a conviction, however, requires not
merely that new evidence exist, but that it be ". . . of such a
character as to create a probability that had such evidence been
received at the trial the verdict would have been more favorable to
defendant."    Criminal Procedure Law Section 440.10(1)(g).      In
determining whether newly discovered evidence would probably change
a verdict, the evidence is not -evaluated in a vacuum, but in light
of the evidence contained in the record on appeal. See People v.
Salemi, 309 N.Y. at 218-19;      see also, People v. Maynard, 183
A.D.2d 1099 (3d Dept. 1992).

     82.    In other words, an assessment of the likely impact of
newly discovered evidence requires an honest appraisal of the
strength or weakness of the case originally presented by the
People. The defendants' statements in this case were sufficiently
persuasive to result in the convictions of all five defendants on
at least some of the charges against them, and, for that matter,
persuasive enough to bring about those convictions before two
separate juries:     However, the confessions also had serious
weaknesses.

     83.   Perhaps the most persuasive fact about the defendants'
confessions is .that they exist at all. While all of the defendants
began by denying knowledge'. of the attack, each ultimately made
himself an accomplice in a terrible crime.




     *As already noted, the People requested that the F.B.I.
laboratory reexamine the hair evidence       introduced at    the
defendants' trials before having it tested for mitochondrial DNA,
and the F.B.I. examiner disagreed with the original technician's
findings.    However, his opinion does not qualify as newly
discovered evidence within the meaning of C.P.L. Section 440.10
since counsel could, with due diligence, have sought a second
microscopic analysis at the time of the original proceedings.

                           PAGE 26 of 34




                                                                    NYCLD 030706
   Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 28 of 35




     84. In that regard, it is important to note that, with the
exception of the unrecorded statement made by Yusef Salaam, each of
the statements cast the speaker in a relatively minor role, and
none of the defendants admitted that he personally raped her.
Kevin Richardson stated that he grabbed at the jogger, but
equivocated about it and, at least: on video, stopped short of
saying that he did so to assist in an assault or rape.       Antron
McCray said that he kickecl ,the jogger and. lay on top of her, but
did not penetrate her.    Raymond Santana finally stated that he
"felt her tits." And Kharey Wise'eventually said that he held and
fondled her leg. Yusef Salaam,An his unrecorded statement, went
furthest in ascribing culpability to himself, by saying that he
struck the jogger with a pipe at-the - inception of the incident.

     85. In and of itself, the fact that each defendant minimized
his own involvement would not be startling or necessarily
significant; defendants certainly lie, even when confessing. On
the other hand, it arguably makes the claim that the defendants
made false admissions more plausible, by adding weight to their
contention that, for whatever reason, each spoke about the crime
with a view toward becoming a witness rather than a defendant. In
that sense, it is an aspect of the confessions to be considered
here.

     86. The significant weaknesses in the defendants' statements
lie in the details they provide in describing the attack on the
jogger. Taking the statements individually, those details appear
to give them power. But a.camparison of the statements reveals
troubling discrepancies. Using,their videotaped statements as the
point of comparison,* analysis ShOws:that the accounts given by the
five defendants differed fram one another on the specific details
of virtually every major aspect of the crime -- who initiated the
attack, who knocked the victim down, who undressed her, who struck
her, who held her, who raped her, what weapons were used in the
course of the assault, and when in the sequence of events the
attack took place.

     87. ThuS, for example, on the issue of who actually knocked
the jogger to the ground, Kevin Richardson said Antron, Raymond,
and Steve did it;     Antron McCray said everyone charged her;
Raymond Santana said Kevin did it; Yusef Salaam said he did it;
and Kharey Wise first named Raymond, and then named Steve.

     88. Similarly, as to who 'struck the jogger in the course of
the attack, Kevin Richardson alleged that only Michael Briscoe hit
her, and that he hit her only. with his fist,. in the face. Raymond
Santana said that Steve smacked her, and then struck her in the
face with a brick. Antron McCray stated that everyone was hitting


     *Since Yusef Salaam made only one, unrecorded statement, that
statement is used for this analysis.

                           PAGE 27 of 34


                                                                       NYCLD 030707
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 29 of 35




and stomping her, and that a tall, skinny, black male struck her in
the ribs and head with a pipe. Yusef Salaam said that he himself
hit her with a pipe, and that someone else used a brick. Kharey
Wise first said that Steve slapped her in the face, that someone
cut her legs with a knife, and that Kevin used a "handrock"; he
then said that Steve slapped her, punched her. in the face, and cut
her legs with a knife, and that Kevin, Steve, and Raymond punched
her in the face and hit her with bricks.

     89. Likewise; on the issue of who raped her, Richardson named
Antron, Raymond, and Steve. McCray identified a tall, skinny black
male, a Puerto Rican with a black hoodie, Clarence, and Kevin, and
said that he himself simulated having sex with her.        Santana
claimed that Kevin raped her, after which Santana left the park.
Salaam named Kevin, Kharey, and a couple of unknown males. And
Kharey Wise named Steven, Raymond, and.Kevin. Kevin Richardson's
is the only name common to all the statements, with the exception
of his own.    It was, hoWever, .Richardson who first implicated
members of the group in the rape, providing a possible motive for
others to accuse him.

     90. There are certainly portions of the statements made by
the defendants that are consistent with the evidence presented at
trial.   There was, for example, testimony to the effect that
certain of the jogger's injuries could have been caused by a pipe,
a brick, or a rock, weapons that were named in some of the
statements.    The jogger had bruising which could have resulted
from the kicking or blows some defendants described. Antron McCray
accurately stated that the jogger wore a white shirt.

     91.   That said, it is nonetheless true that in many other
respects the defendants' statements were not corroborated by,
consistent with, or explanatory of objective, independent evidence.
And some of what they said was simply contrary to established fact.

     92. None of the defendants, for example, related where the
jogger was coming from, what direction she was running in, or how
they happened to catch sight of her.     None offered specific or
accurate descriptions of the area where she was attacked, the
terrain, or the crime scene. Yusef Salaam stated that he struck
the jogger on the head with a pipe. He did not say where on the
head, but his statement could explain the bloodstains on the road
and the injuries to the back of her head.      None of the others,
however, gave an account which would adequately explain either.
Only Kharey Wise said anything that would explain the dispersal of
physical evidence and the indications that attacks occurred at more
than one site, and Wise had been taken to the scene prior to his
videotaped statements.     None of the defendants mentioned the
jogger's Walkman, although several mentioned John Loughlin's
Walkman in the statements they made about him. None said a word
about her keys.    None said anything about a search for money,


                           PAGE 28 of 34




                                                                    NYCLD 030708
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 30 of 35




although the insole pulled out of the victim's          jogging   shoe
certainly suggests that someone looked for it.

      93. Some of what the defendants said is'simply wrong. Kharey
Wise, for instance, declared that the jogger's clothes had been cut
off, and that her legs had been cut with a knife. Her clothes were
not cut off, and there were no knife wounds on the jogger;       in
fact, the prosecution affirmatively elicited testimony to that
effect at trial. Likewise, Kevin Richardson said that her bra was
ripped off, whereas in fact it was still on her when she was found.
Raymond Santana described her as being naked during the incident,
and others said she was naked when they left, although she was
found with her jogging bra still on and her t-shirt tied around her
head.

     94.   Other statements the defendants made are simply not
corroborated.   For example, several defendants spoke of a brick
being used as a weapon in the attack. But the only brick actually
removed from the -crime scene had no blood or other forensic
evidence that would confirm its use as a weapon.

     95. More importantly, the defendants' statements about the
rape could not be corroborated by DNA evidence. Each defendant, in
his statement, minimized his participation in the rape, and none
acknowledged having had intercourse with the victim. However, all
but Raymond Santana claimed. to have seen multiple individuals
raping her. Despite that, the .DNA of only one person was found.
That required the jury to believe that, in a gang of teenaged
rapists, only one ejaculated.

     96. Moreover, although the prosecution argued that the DNA
must have been left by one of the defendantS' accomplices, that
argument presented difficulties of its own.     For example, Kevin
Richardson and Kharey Wise purported to name everyone who had raped
her, and none of the people they named proved to be a DNA match.

     97.    Perhaps most significant, none of the defendants
accurately described where the attack on the jogger took place.
With the exception of Kharey Wise, who had been to the scene,
statements by all of the defendants describe events in such a way
as to place the attack at or near the reservoir, at varying points
in the sequence of events that actually occurred there.        The
defendants were not similarly confused about the locations of the
other crimes they described.

     98.   An additional issue is raised by the other incidents
which took place in the park.. . For while the nature and locations
of those incidents made it seem logical to believe that the
defendants had attacked the jogger, the timing of events made it
hard to understand when they could have.       Shortly after their
initial entry into the park, the larger group of which the
defendants were a part temporarily split up. As a result, not all

                           PAGE 29 of 34




                                                                     NYCLD_030709
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 31 of 35




of the defendants participated both in the incidents that occurred
along the East Drive and in the attacks at the reservoir; but at
least some of them did. Given the times when each of those events
were estimated to have occurred, it is difficult to construct a
scenario that would have allowed the defendants the time to
interrupt their progression south, detour to the 102nd Street
transverse, and commit a gang rape.

     99. All of these issues were apparent at the time of trial.
Counsel had access to the same confessions, the same objective
evidence, and the same timeline that the prosecution did, and were
free to exploit the weaknesses in the People's case to whatever
extent they were able to do so. It could be, and it was, credibly,
honestly, and persuasively argued by the prosecution that in any
gang attack, discrepancies 'among accounts and confusion about
details are not unusual. Indeed, given the involvement of a number
of people and the violence of the events at issue, some level of
genuine confusion is probably inevitable.        In this case in
particular, those arguments were bolstered by 'the fact that the
crimes, occurred at night, that the lighting was poor, and that the
defendants were involved in a number of incidents.

     100.   Nonetheless,   the fact that these weaknesses in the
confessions exist gives     added weight to the' newly discovered
evidence in this matter,   and increases the probability that that
evidence would result in   a different verdict.

     101. The probative value of the only forensic evidence that
connected the defendants to the attack, the hairs found on Kevin
Richardson, was, by its nature, weak to begin with. It has been
diminished further by the tests performed in 2002.        And the
specific argument the prosecution made -- that a particular rock
found at the scene had been used in the attack -- has also been
undermined, although the most reasonable interpretation of the new
blood evidence is probably contamination.

     102. The difficulties inherent in the passage of time and the
small size of the hair samples in existence made it impossible to
obtain definitive DNA results. But with respect to each of those
samples that was large enough to test, a jury would hear expert
testimony that the DNA which could be extracted from the evidence
did not match the jogger. Those results do not exclude the jogger
as a source to a reasonable degree of scientific certainty. Their
effect, however, would be to undermine the jury's confidence in the
only evidence other than the defendants' statements which showed
contact between the victim and her alleged rapists.

     103.   Most important, the jurors who originally heard the
evidence were presented with no persuasive alternative theory of
the case to consider. Certainly, no one would have thought that as
the defendants and their group were making their way through
Central Park, a serial rapist was also at large.        The newly

                            PAGE 30 of 34




                                                                     NYCLD 030710
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 32 of 35




discovered evidence provides incontrovertible proof that he was.

     104.   A self-confessed and convicted serial rapist -- who
habitually stalked white women in their 20's; who attacked them,
beat them, and raped them;    who always robbed his victims, and
frequently stole Walkmans;     who tied one of his victims in a
fashion much like the Central Park jogger;     who lived on 102nd
Street; who beat and raped a'woman in Central Park two days before
the attack on the transverse; whose DNA was the only DNA recovered
inside and alongside the victim;     whose narrative of events is
corroborated in a    number  of  significant  ways;   who had no
connection to the defendants or their cohorts; and who committed
all his sex crimes alone -- has come forward to say that he alone
stalked, attacked, beat, raped, and robbed a white woman in her
20's, who was set upon on the 102nd Street transverse, was missing
her Walkman, and was left tied in a way that has never before been
explained.   Had this evidence been available, the defendants'
attorneys would have had an arguably compelling alternative to the
People's theory of the case.

     105. It is the People's position that, as to those verdicts
which arose specifically from the attack on the Central Park
jogger, the newly discovered evidence in this case meets the
standard set forth in Criminal Procedure 'Law Section 440.10(1)(g):
it " ..is of such a character as to create a probability that had
such evidence been received:at trial the verdict would have been
more favorable to defendant.."

     106.   The newly discovered evidence at issue here relates
directly only to those charges which arose out of the attack on the
jogger herself.   Factually, it has no relationship to the other
crimes -- riot, robbery, and assault -- which occurred in Central
Park on the night of April 19, 1989.      Nonetheless, all of the
defendants use the newly discovered evidence provided by Matias
Reyes as the basis for a request that the court vacate their other
convictions as well.

     107.   The papers submitted on behalf of Kharey Wise, Kevin
Richardson, Antron McCray, and Raymond Santana do not specify a
legal basis for that request. Yusef Salaam argues that the nature
and gravity of the charges involving the female jogger prejudiced
the defendants' ability to receive a fair and dispassionate trial
on the other charges against him.

     108. Under the extraordinary circumstances presented by this
case, the People are constrained to consent to the defendants'
motions with respect to the other charges of which they were
convicted.

     109. The other crimes committed on April 19 were grave and
inexcusable -- unprovoked attacks on strangers, apparently
undertaken for the fun of it, which left some terrorized, two

                           PAGE 31 of 34




                                                                     NYCLD 030711
Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 33 of 35




knocked   into  unconsciousness,    and  one   seriously   injured.
Nevertheless, as the evidence was presented at trial, the attack on
the female jogger was of a far greater order of seriousness. The
People's theory was that she was set upon by a number of young men,
gang-raped by two or more of them, kicked and pummeled by the
group, and beaten about the head with a pipe, a brick, and a rock.
Had she been discovered sooner, her injuries might well have been
less serious in their effects; but she was not, and by the time
she was found, she was close to death.       The People introduced
photographs depicting her injuries, called a pathologist to
describe and characterize them one by one, and presented medical
evidence fully describing her condition thereafter; she remained
comatose for some time, endured a lengthy period of rehabilitation,
and suffered permanent impairment as a result of the attack.

     110.   It, is commonplace for defendants to be charged in a
single indictment with crimes of very different levels of gravity.
The law permits it, and correctly presumes that juries can and will
follow instructions requiring that they weigh evidence of guilt as
to different counts separately.      Thus, in and of itself, the
relative seriousness of the jogger attack plainly would not merit
setting aside the juries' verdicts as to other charges.

     111.   In this 'case, however, other factors must also be
weighed.   The crimes the defendants were charged with were not
widely separated by time or location, either from each other or
from the attack on the jogger; all occurred within a single hour,
at the northern end of Central Park.         In effect, all were
considered to be part of a single incident --    a rampage in the
park, as is reflected in the fact that the defendants were charged
with Riot in the First Degree.

      112. In fact, the prosecutor argued to the jurors in the
trial of Kharey Wise and Kevin Richardson that they should not lose
sight of the "overall pattern of the behavior... fas] this group
continued through the park for a period of approximately an hour
attacking one after another after another person." This, it was
fairly and convincingly argued, showed that the group acted with a
joint purpose, that they were "an entire group acting together in
one violent outburst of destruction, of beating, of assaulting."
Similar references were made in summation in the earlier trial of
McCray, Salaam, and Santana.

     113.   It was logical for the People to suggest that the
defendants' culpability and criminal intent could be inferred from
the pattern of conduct engaged in by the group of which they were
a part.   This would have been an inescapable inference for the
jurors in any event. But the new evidence detailed above would, if
credited, call into question the defendants' involvement in the
most horrific crime in the pattern of incidents in the park -- and
indeed, the involvement of the larger group as well. Accordingly,
it would likely have had a significant bearing, in the jurors'

                           PAGE 32 of 34



                                                                    NYCLD 030712
 Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 34 of 35




minds, on the defendants' culpability for those other crimes as
well.

     114. Moreover, the trial evidence as to the other charges,
like the evidence as to the 'attack on the female jogger, consisted
almost entirely of the defendants' statements.      The distinctive
logo on Kevin Richardson's jacket was described by one of the
tandem bikers, and he and Santana were apprehended on the outskirts
of the park; but the PeOple's proof was limited by one fundamental
fact: none of the victims could identify any of the defendants.

  . 115.    Just as the other incidents in the park cannot be
considered separately from the rape of the jogger, neither can the
defendants' statements about those events. In the case of at least
two defendants, Richardson and Salaam, the process of questioning
about the rape and the process of questioning about other crimes
overlapped and intertwined. And with a single exception, all of
the substantial written or recorded statements made by Richardson,
McCray, Wise, and Santana concern the attack on the female jogger
as well as the other crimes of that night. That lone exception
involves Santana, whose first substantial written statement deals
only with other events; but just an hour and twenty minutes after
he signed it, after further, continuous questioning, an addendum
described the jogger attack.

      116. Thus, the admissions concerning the other crimes were
 contained in the same written and recorded statements as the
 admissions concerning the rape, and were largely obtained as part
 of the same process of questioning. As a consequence, the newly
 discovered evidence would probably raise questions about the
 reliability of those admissions similar to the questions raised
 about the defendants' confessions to rape. There is some testimony
 that, in certain instances, admissions about other criminal
.incidents were made substantially before and apart from any
 statements about the rape.     But that testimony alone, absent
 independent corroboration, would not have been sufficient to allay
 concerns about the defendants' confessions raised by the newly
 discovered evidence.

     117.   In sum, there was no significant evidence at trial
establishing the defendants' involvement in the other crimes of
which they stand convicted that would not have been substantially
and fatally weakened by the newly discovered evidence in this
matter.   In the original investigation, a number of individuals
identified one or more of the defendants Richardson, McCray,
Santana, and Salaam in connection with the attack on John Loughlin,
and statements also placed Wise at the scene of earlier incidents.
In interviews in 2002, both Richardson and Santana candidly
acknowledged involvement in criminal incidents that occurred on
April 19, while steadfastly asserting their innocence of rape. But
none of this additional evidence was before the trial juries.


                            PAGE 33 of 34


                                                                     NYCLD 030713
   Case 1:20-cv-08042-PKC Document 29-5 Filed 05/18/20 Page 35 of 35




Accordingly, it cannot be     considered   in evaluating   the   newly
discovered evidence claim.

     118.   Assessing the newly discovered evidence, as we are
required to, solely in light of the proof introduced at the earlier
trials, we conclude that there is a probability that the new
evidence, had it been available to the juries, would have resulted
in verdicts more favorable to the defendants, not only on the
charges arising from the attack on the female jogger, but on the
other charges as well.

     119. The final determination of this motion must, of course,
be made by the Court.     Should the Court, as requested by the
parties, vacate the convictions, the People will move the Court to
dismiss the indictments. Under all the circumstances, no purpose
would be served by a retrial on any of the charges contained in the
indictment.

       WHEREFORE, for the reasons stated, the People consent to the
relief requested and recommend that the Court vacate the
defendants' convictions in their entirety.

DATED:   New York, New York
         December 5, 2002




                               NANCY E/RYAN
                               Assistant District Attorney
                               Chief of the Trial Division




                           PAGE 34 of 34



                                                                       NYCLD 030714
